     Case: 1:20-cv-03154 Document #: 37 Filed: 12/01/20 Page 1 of 1 PageID #:619

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Ramot Hills LLC
                              Plaintiff,
v.                                                Case No.: 1:20−cv−03154
                                                  Honorable Rebecca R. Pallmeyer
Homy Casa Limited
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 1, 2020:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: The court
acknowledges the parties' joint written status report. Defendant is directed to file amended
affirmative defenses on or before December 18, 20210 Parties are reminded that the
discovery close date is March 26, 2021. Dispositive motion deadline is June 25, 2021, but
if an earlier motion for summary judgment on the issue of invalidity will promote
resolution, the court encourages prompt filing of such a motion. Further written status
report shall be filed on or before January 21, 2021. Notice mailed by judge's staff (ntf, )




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